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                             UNITED STATES DISTRICT COURT                    Approved on 8/30/13.
                             SOUTHERN DISTRICT OF INDIANA                    s/William T. Lawrence, Judge
                                 TERRE HAUTE DIVISION

    WILLIAM J. SAUTER,

                      Plaintiff,

    v.                                                CASE NO. 2:13-cv-00151-WTL-MJD

    CREDIGY RECEIVABLES INC. and
    DELTA OUTSOURCE GROUP, INC.,

                      Defendants.

                    STIPULATION OF DISMISSAL WITH PREJUDICE

           Plaintiff, William J. Sauter, by counsel, and Defendants, Credigy Receivables Inc.

   and Delta Outsource Group, Inc., by counsel, pursuant to Federal Rule of Civil Procedure

   41(a)(1)(A)(ii), stipulate to the dismissal with prejudice of all claims of Plaintiff against

   Defendants in the above-captioned cause of action, the parties to pay their own costs.


   Respectfully submitted,

   For Plaintiff:

   s/ Robert E. Duff
   Robert E. Duff, Atty No. 16392-06
   Indiana Consumer Law Group/
   The Law Office of Robert E. Duff
   P.O. Box 7251
   Fishers, IN 46037

   For Defendant Delta Outsource Group, Inc.:

   s/ Jennifer Kalas
   Jennifer Kalas, Atty No. 17396-64
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   322 Indianapolis Blvd.
   Suite 201
   Schererville, IN 46375
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   For Defendant Credigy Receivables Inc.:

   s/ Peter A. Velde
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